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United States Bankruptcy Court
Middle District of Florida

Inre Via Airlines, Inc. ee Cuse No,

Debtor(s) Chapter Wo

CORPORATE OWNERSH!P STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to

recusal, the undersigned counsel for Via Airlines, Inc. in the above captioned action, certifies that the following isa

(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:

Via EO Capital, LLC

218 Jackson Street

Maitland, FL 32751 _

ViaAir Aviation Holdings
111 5. Maitland Avenue
Maitland, FL 32751

enable the Judges to evaluate possible disqualification or

 

 

[ None [Check if applicable]

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& Justin M. Luna 0037131 -

Signature of Attorney or Litigant

Counsel for Via Airlines, Inc.

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